           Case 1:19-cr-00852-PKC Document 39 Filed 01/11/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                                                      19-cr-852 (PKC)

                -against-                                               ORDER


ANTONIO ALICEA,

                                  Defendant.
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CASTEL, U.S.D.J.

                The January 14, 2021 plea proceeding will be conducted as a video/teleconference

using the CourtCall platform. The proceeding will commence at 11 a.m. As requested, defense

counsel will be given an opportunity to speak with his client by telephone for fifteen minutes

before the proceeding begins (i.e., at 10:45 a.m.). Defense counsel should make sure to answer

at the telephone number that counsel previously provided to Chambers.

                To optimize the quality of the video feed, only the Court, defendant, defense

counsel, and counsel for the Government will appear by video for each proceeding. All other

participants will participate by telephone. Due to the limited capacity of the CourtCall system,

only one counsel per party may participate. Co-counsel, members of the press, and the public

may access the audio feed of the conference with the following information:

                         Call-In:         (855) 268-7844
                         Access Code: 67812309#
                         PIN:             9921299#

                In advance of the conference, Chambers will email the parties with further

information on how to access the conference. Those participating by video will be provided a link
          Case 1:19-cr-00852-PKC Document 39 Filed 01/11/21 Page 2 of 3




to be pasted into their browser. The link is non-transferrable and can be used by only one

person; further, it should be used only at the time of the conference because using it earlier could

result in disruptions to other proceedings.

               To optimize the performance of the CourtCall technology, all those participating

by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as their web browser.
              Do not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference—whether in listen-only mode or otherwise—are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

               In the event of problems with the videoconferencing technology, the Court may

move the proceeding to a back-up teleconference line. If that occurs, counsel should access the

teleconference using the following information:

                       Call-In:        (888) 363-4749
                       Access Code: 3667981
Members of the press and public may access this proceeding with the same information but will

not be permitted to speak during the teleconference. On such a teleconference, counsel should

adhere to the following rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including when
              noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of a
              speakerphone, and must mute themselves whenever they are not speaking to

                                                -2-
        Case 1:19-cr-00852-PKC Document 39 Filed 01/11/21 Page 3 of 3




            eliminate background noise. In addition, counsel should not use voice-activated
            systems that do not allow the user to know when someone else is trying to speak at
            the same time.

         3. To facilitate an orderly teleconference and the creation of an accurate transcript,
            counsel are required to identify themselves every time they speak. Counsel should
            spell any proper names for the court reporter. Counsel should also take special care
            not to interrupt or speak over one another.

         4. If there is a beep or chime indicating that a new caller has joined while counsel is
            speaking, counsel should pause to allow the Court to ascertain the identity of the
            new participant and confirm that the court reporter has not been dropped from the
            call.

      SO ORDERED.




Dated: New York, New York
       January 11, 2021




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